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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re                                                         ) Chapter 11
                                                              )
CENTER CITY HEALTHCARE, LLC d/b/a                             )
HAHNEMANN UNIVERSITY HOSPITAL,                                ) Case No. 19-11466 (KG)
et al.,1                                                      )
          Debtors.                                            ) (Jointly Administered)

  STATEMENT OF DREXEL UNIVERSITY IN SUPPORT OF DEBTORS’ MOTION
    FOR ENTRY OF ORDERS (I)(A) ESTABLISHING BIDDING PROCEDURES
  RELATING TO THE SALE OF THE DEBTORS’ RESIDENT PROGRAM ASSETS,
 INCLUDING APPROVING A BREAK-UP FEE, (B) ESTABLISHING PROCEDURES
RELATING TO THE ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY
    CONTRACTS, INCLUDING NOTICE OF PROPOSED CURE AMOUNTS, (C)
 APPROVING FORM AND MANNER OF NOTICE RELATING THERETO, AND (D)
    SCHEDULING A HEARING TO CONSIDER THE PROPOSED SALE; (II)(A)
APPROVING THE SALE OF THE DEBTORS’ RESIDENT PROGRAM ASSETS FREE
 AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS, AND
    (B) AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF CERTAIN
      EXECUTORY CONTRACTS; AND (III) GRANTING RELATED RELIEF

                 Drexel University (“Drexel”), by and through its undersigned counsel, hereby

files this statement in support of the Debtors’ Motion for Entry of Orders (I)(A) Establishing

Bidding Procedures Relating to the Sale of the Debtors’ Resident Program Assets, Including

Approving a Break-Up Fee, (B) Establishing Procedures Relating to the Assumption and

Assignment of Certain Executory Contracts, Including Notice of Proposed Cure Amounts, (C)

Approving Form and Manner of Notice Relating Thereto, and (D) Scheduling a Hearing to

Consider the Proposed Sale; (II)(A) Approving the Sale of the Debtors’ Resident Program Assets

Free and Clear of All Liens, Claims, Encumbrances, and Interests, and (B) Authorizing the

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 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617),
SCHC Pediatrics Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC
Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA,
L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V
of PA, L.L.C. (5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.
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Assumption and Assignment of Certain Executory Contracts; and (III) Granting Related Relief

[Docket No. 142] (the “Sale Motion”) and, in support hereof, respectfully states as follows:

                                          BACKGROUND

       1.      On July 1, 2019 (the “Petition Date”), Center City Healthcare, LLC d/b/a

Hahnemann University Hospital (“Hahnemann”) and certain of its affiliates (collectively, the

“Debtors”), including Philadelphia Academic Health System, LLC (“PAHS”), each filed a

voluntary petition for relief under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”).

       2.      On the Petition Date, the Debtors also filed a number of first day motions with the

Court, including the Motion of the Debtors for Entry of Interim and Final Orders Pursuant to

Sections 105(a), 363, and 1108 of the Bankruptcy Code (A) Authorizing the Debtors to

Implement a Plan of Closure for Hahnemann University Hospital and (B) Scheduling a Final

Hearing [Docket No. 15] (the “Closure Motion”).

       3.      On July 2, 2019, Drexel filed the Limited Objection of Drexel University to

Motion of the Debtors for Entry of Interim and Final Orders Pursuant to Sections 105(a), 363,

and 1108 of the Bankruptcy Code (A) Authorizing the Debtors to Implement a Plan of Closure

for Hahnemann University Hospital and (B) Scheduling a Final Hearing [Docket No. 66] (the

“Closure Objection”). Drexel objected to the Closure Motion based on, among other things, the

transfer of the approximately 570 participants in Drexel’s Residency Programs (the “Residents”)

upon the closure of Hahnemann. Specifically, Drexel expressed concerns regarding the harmful

effects that an abrupt and disorderly closure of Hahnemann (“Closure”) would have on the

Residents, as well as patients, faculty, students, hospital staff, and the public.




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       4.      On July 3, 2019, the Court entered an Order [Docket No. 101], requiring the

Debtors to engage in regular discussions with Drexel, the City of Philadelphia and the

Pennsylvania Department of Health prior to the hearing on interim approval of the Closure

Motion.

       5.      Since the first day hearing held on July 2, 2019, Drexel and the Debtors have been

communicating about the impact on the Residents of a closure of Hahnemann.

       6.      On July 9, 2019, the Debtors filed the Sale Motion seeking to establish bidding

procedures and the scheduling of a hearing on the sale of the Debtors’ assets relating to the

Debtors’ residents program, which include (a) national provider identifiers (general and psych)

and Medicare provider number and agreement; (b) the Pennsylvania Department of Health

license to operate an acute care hospital; and (c) Hahnemann’s programs for training Residents

(the “Residents Program Assets”). Pursuant to the Sale Motion, Tower Health will serve as the

stalking horse bidder for the Residents Program Assets.

                                 STATEMENT IN SUPPORT

       7.      As set forth in the Closure Objection, a primary concern of Drexel in connection

with the closure plan submitted for approval in the Closure Motion was its apparent disregard for

the fair and equitable treatment of the Residents and its lack of provision for their continued

training. Drexel has also been highly concerned with the impact that the loss of the Residents

and of the resident programs (the “Programs”) in which they participate could have on the

region. Indeed, Drexel has been the principal advocate for Residents in connection with Closure,

both before this Court, and in pre-petition litigation brought against, among others, certain of the

Debtors, in the Court of Common Pleas of Philadelphia County.

       8.      Drexel believes that the transaction (the “Transaction”) described in the Sale

Motion, and in the letter of intent attached thereto (the “LOI”), comprehensively addresses, in a


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creative, positive, forward looking manner, Drexel’s concerns regarding Resident treatment and

the implications of that treatment for the broader community, in connection with the Closure.

The Transaction incorporates the following provisions regarding Residents:

           a. Tower Health “will become the principal training site” for substantially all of the

              current Programs. Sale Motion, ¶ 26; LOI, pp. 2-3. In connection therewith,

              Tower Health will endeavor to hire the faculty that currently teach such Programs.

              Sale Motion, ¶ 28; LOI, p. 1

           b. All current Residents that want a position at a Tower Health hospital will be

              offered one, regardless of whether the Resident’s Program in which they are

              participating is moved to Tower Health. Sale Motion, ¶ 28; LOI, p. 2. Residents

              that choose to come to Tower Health who must relocate during the current

              academic year will receive free housing “for the remainder of the academic year,

              or during the term of [the] Resident’s existing vacated lease.” Sale Motion, ¶ 28;

              LOI, p. 2.

           c. No Resident will be compelled to train at a Tower Health facility, and may accept

              a position elsewhere.      Tower Health or the Debtors, as applicable, will

              temporarily release the related cap on Medicare reimbursement for any Resident

              that wishes to complete such Resident’s training elsewhere, which will maximize

              for such Resident the prospects of finding another opportunity.

           d. Tower Health will assume all Medicare GME affiliation agreements, at least

              through the close of the current academic year, so that Residents at other locations

              under such agreements will not have their training disrupted. LOI, p. 5.




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       9.       In sum, Residents are assured of a place at Tower Health to continue their

training, or alternatively, they will have the option to go elsewhere if they so choose. If they do

so choose, they will do so with the ability to have the Medicare funding associated with their

residency positions follow them and be payable to the institution where they elect to continue

training, for the duration of such training.

       10.      Those Residents that choose to continue their training at Tower Health have the

prospect of continuity of their Programs, continuity with the academic faculty with whom they

enjoy close, mentoring relationships, and continuity with their fellow resident cohort, a path that

substantially minimizes the disruption attendant to the Closure, and preserves those key factors

that made a residency at Hahnemann and under the educational supervision of Drexel University

College of Medicine faculty attractive in the first instance. Simultaneously, the region greatly

benefits both from the prospect of retaining a substantial number of Residents, many of whom

will continue to practice medicine in the region following completion of their residency, and

from the continued availability of the Programs within the region for future Residents.

       11.      The scale of the Closure of Hahnemann has presented unprecedented challenges

to the community, employees, regulators, accreditation agencies, Drexel, and, of course, the

faculty, students, and Residents. There is no perfect resolution to these challenges, but the

Transaction offers to Residents and the other key constituencies affected by the Closure a path

forward that best preserves and protects the interests of Residents and each other affected

constituency.

       WHEREFORE, Drexel University respectfully requests that the Court approve the Sale

Motion and grant such other and further relief as the Court deems just and proper.




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Dated: July 15, 2019                       Respectfully submitted,
       Wilmington, Delaware
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                                 CERTIFICATE OF SERVICE

       I, Tobey M. Daluz, Esquire, do hereby certify that, on this 15th day of July 2019, I

caused a true and correct copy of the Statement of Drexel University in Support of Debtors’

Motion for Entry of Orders (I)(A) Establishing Bidding Procedures Relating to the Sale of the

Debtors’ Resident Program Assets, Including Approving a Break-Up Fee, (B) Establishing

Procedures Relating to the Assumption and Assignment of Certain Executory Contracts,

Including Notice of Proposed Cure Amounts, (C) Approving Form and Manner of Notice

Relating Thereto, and (D) Scheduling a Hearing to Consider the Proposed Sale; (II)(A)

Approving the Sale of the Debtors’ Resident Program Assets Free and Clear of All Liens,

Claims, Encumbrances, and Interests, and (B) Authorizing the Assumption and Assignment of

Certain Executory Contracts; and (III) Granting Related Relief, to be served on the addresses on

the attached list in the manner indicated thereon.


                                                     /s/ Tobey M. Daluz
                                                     Tobey M. Daluz

VIA HAND DELIVERY

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